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D.C.

UN|TED STATES OF AMER|CA

   

EDMUNDO SALAZAR-TORRES
J. Patten Brown, FPD
Defense Attorney
200 Jefferson Ave., Suite 200
Memphis, TN 38103

 

JUDGMENT IN A CR|NIINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 3 of the lndictment on August 031 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tit|e & Section Nature of Offense Offense Number
Conc|uded
18 U.S.C. § 3013(a) Possession of Frauduient identification 05/05/2005 3

Document

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victlms Restitution Act of 1996

Count 1 & 2 dismissed on the motion of the United States.
lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. - - Date of imposition of Sentence:
Defendant’s Date of Birth: 10/9/1983 August 03, 2005
Deft’s U.S. Marsha| No.: 202?7-076

Defendant’s l\/lailing Address:
- no known address

` J. oANiEL §REEN
NlTEo sTATEs olsTRlcT JuooE

August 3 , 2005

 

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Case No: 2:050R20191-01-B Defendant Name: Edmundo SALAZAR-TORRES Page 2 of 3

lMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of Time Served.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States |V|arshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. l\/larshal

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Case No: 2:05CR20191-01-B Defendant Name: Edmundo SALAZAR-TORRES Page 3 of 3

CRIMINAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
With the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 

Total Assessment Total Fine Total Restitution
$25.00

The Specia| Assessment shall be due immediately

F|NE
No fine imposedl

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20191 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

J Patten Brovvn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

